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FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

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Corde\l_G love R Mow ca k 10S COMPLAINT
(Enter above the full name of the plaintiff in this action)
7 Vv. Se hn Dee Civil Action No.
kt CC Qer’ YW ( Wane & Shun ny (To be supplied by the Clerk of the Court)
v- Sy e «st L. LC [> Cc” . ‘
14, -h 4 fess Aoi

‘Se COCA eds Cut 1S. 67305

(Enter the’full name / the defendant of defendants in this action)

INSTRUCTIONS; READ CAREFULLY

1. This complaint must be legibly handwritten or typewritten, signed by
the plaintiff and subscribed to under penalty of perjury as being true and
correct. All questions must be answered concisely in the proper space on
the form. Where more space is needed to answer any question, attach a
separate sheet.

2. In accordance with Rule 8 of the Federal Rules of Civil Procedure, the
complaint should contain (1) a short and plain statement of the grounds
upon which the court's jurisdiction depends, (2) a short plain statement of
the claim showing that you are entitled to relief, and (3) a demand for
judgment for the relief which you seek.

3. You must provide the full name of each defendant or defendants and
where they can be found.

4. You must send the original and one copy of the complaint to the Clerk
of the District Court. You must also send one additional copy of the
complaint for each defendant to the Clerk..Do not send the complaint
directly to the defendants.

5. Upon receipt of a fee of $402.00 (a filing fee of $350.00, and an
administrative fee of | $52.00), your complaint will be filed. You will be
responsible for service of a separate summons and copy of the complaint on
each defendant. See Rule 4, Federal Rule of Civil Procedure.

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6. If you cannot prepay the $402.00 fee, you may request permission to
proceed in forma pauperis in accordance with the procedures set forth in the
application to proceed in forma pauperis. See 28 U.S.C. §1915. (If there is
more than one plaintiff, each plaintiff must separately request permission to
proceed in forma pauperis. )

7. If you are given permission to proceed in forma pauperis, the $52.00
Administrative Fee will not be assessed. The Clerk will prepare and issue a
copy of the summons for each defendant. The copies of summonses and the
copies of the complaint which you have submitted will be forwarded by the
Clerk to the United States Marshal, who is responsible for service. The
Marshal has USM-285 forms you must complete so that the Marshal can
locate and serve each defendant. If the forms are sent to you, you must
complete them in full and return the forms to the Marshal.

QUESTIONS TO BE ANSWERED

la. is asserted pursuant to (CHECK ONE)
42 U.S.C. §1983 (applies to state prisoners)

Bivens v. Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (applies
to federal prisoners)

If you want to assert jurisdiction under different or additional
statutes, list these below:

1b. Indicate whether you are a prisoner or other confined person as
follows:

S pretrial detainee

__ Civilly-committed detainee

___ Immigration detainee

__ Convicted and sentenced state prisoner
___ Convicted and sentenced federal prisoner

___ Other: (please explain)

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2. Previously Dismissed Federal Civil Actions or Appeals

If you are proceeding in forma pauperis, list each civil action or appeal
you have brought in a federal court while you were incarcerated or
detained in any facility, that was dismissed as frivolous or malicious, or
for failure to state a claim upon which relief may be granted. Please
note that a prisoner who has on three or more prior occasions, while
detained in any facility, brought an action or appeal in a federal court
that was dismissed as frivolous or malicious, or for failure to state a
claim upon which relief may be granted, will be denied in forma
pauperis status unless that prisoner is under imminent danger of
serious physical injury. See 28 U.S.C. § 1915(g).

a. Parties to previous lawsuit:
Plaintiff(s): |
hl Pc
Defendant(s):
b. Court and docket number:
Cc. Grounds for dismissal: () frivolous  () malicious

() failure to state a claim upon which relief
may be granted

d. | Approximate date of filing lawsuit: v| [x

e. | Approximate date of disposition: NU

If there is more than one civil action or appeal, describe the additional

civil actions or appeals using this same format on separate qneets.
ASN C C Tout 3
3. Place of Present Confinement?_A~ Woke Rokk Pye

on WS) 6703S
DS

4. Parties

(In item (a) below, place your name in the first blank and place your
present address in the second blank. Do the same for additional
Plaintiffs, if any.)

a. Name of otaintitt:(_orcle\\ G love Ci.

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Address:_ 30 -? 25 Hac Kensgo Kk Ave, Kroc ND 08
Inmate#: So] 446 /
b. First defendant:
Name: Spas Doe Coposts Osiner Samm
Official position: Gamer | Land lacd
Place of employment: 4 Vise, Washoud Pare

ye ree ty NS. fest F 37305

How is this person involved in ‘de case

(i.e., what are you alleging that this person did or did not do that
a your constitutional] rights?)
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Cc. Second defendant:

Name: K f [>

Official position:

Place of employment:

How is this person involved in the case?

(i.e., what are you alleging that this person did or did not do that
violated your constitutional rights?)

d. If there are more than two defendants, attach a separate
sheet. For each defendant specify: (1) name, (2) official
position, (3) place of employment, and (4) involvement of
the defendant.

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5. I previously have sought informal or formal relief from the appropriate
administrative officials regarding the acts complained of in the
Statement of Claims on page 6.

_Wes ___No

If your answer is "Yes," briefly describe the steps taken, including how
relief was sought, from whom you sought relief, and the results.

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ounrl WAC de oOo

If your answer is "No," briefly explain why administrative remedies
were not exhausted.

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6. Statement of Claims

(State here as briefly as possible the facts of your case. Describe how
each defendant violated your rights, giving dates and places. If you do
not specify how each defendant violated your rights and the date(s)
and place of the violations, your complaint may be dismissed. Include
also the names of other persons who are involved, including dates and
places. Do not give any legal arguments or cite any cases or statutes.
If you intend to allege a number of related claims, number and set
forth each claim in a separate paragraph. Use as much space as you
need. Attach a separate sheet if necessary.)

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8. Do you request a jury or non-jury trial? (Check only one)
An Trial ( ) Non-Jury Trial

I declare under penalty of perjury that the foregoing is true and correct.

Signed this 24 day of [Unyomle2 , 202 4

Signature of plaintiff*

(*EACH PLAINTIFF NAMED IN THE COMPLAINT MUST SIGN THE COMPLAINT
HERE. ADD ADDITIONAL LINES IF THERE IS MORE THAN ONE PLAINTIFF.
REMEMBER, EACH PLAINTIFF MUST SIGN THE COMPLAINT).

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